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 1    RICHARD MAC BRIDE, SB# 199695
      LAW OFFICES OF RICHARD A. MAC BRIDE
 2    855 Marina Bay Parkway, Suite 210
 3    RICHMOND, CA 94804
      Phone 415-730-6289
 4    Fax 510-439-2786
      Attorney for Plaintiff Oscar Ramos
 5
 6
 7
                                          UNITED STATES DISTRICT COURT
 8
                                         NORTHERN DISTRICT OF CALIFORNIA
 9
      _____________________________________
10                                                 )           Case Number
      Oscar Ramos,                                 )
11                                                 )
                                                   )
12                    Plaintiff,                   )
                                                   )           CIVIL RIGHTS
13    Vs.                                          )           COMPLAINT FOR INJUNCTIVE RELIEF
                                                   )           AND DAMAGES: DENIAL OF CIVIL
14                                                 )           RIGHTS OF A DISABLED PERSON, IN
      The Coliseum Inc., individually and dba      )           VIOLATION OF THE AMERICANS WITH
15    Coliseum Sports; and Does 1 to 50 inclusive, )           DISABILITIES ACT OF 1990 AS
                                                   )           AMENDED, AND VIOLATION OF
16                        Defendants.              )           CALIFORNIA’S CIVIL RIGHTS
                                                   )           STATUTES
17                                                 )
                                                   )           JURY TRIAL REQUESTED
18                                                 )
19
      Plaintiff herein complains of defendants herein, and alleges as follows:
20
21
                                                   JURISDICTION AND VENUE
22
      1.   This court has jurisdiction over this matter and these defendants pursuant to 28 USC § 1331
23
24         for violations of the Americans with Disabilities Act of 1990 (42 USC §12101 et seq.).

25         Pursuant to pendant jurisdiction, attendant and related causes of action, arising from the same
           facts, action is also bought under California law, including, but not limited to, violations of
26
27         California Government Code §4450; California Health and Safety Code §19953 et seq., and

28         applicable regulations, including but not limited to California Code of Regulations, Title 24,
           §19959; and California Civil Code §§ 51, 51.5, 52(a), 52.1, 54, 54.1, and 54.3. Defendant The
     ___________________________________________________________________________________________________________


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 1         Coliseum Inc. owns and operates a business called “Coliseum Sports” at 232 Nut Tree Road,
 2         Vacaville, California in this judicial district.
 3    2. Venue is proper in this court pursuant to 28 USC §1391(b) and is founded on the fact that the
 4         real property that is the subject of this action is located in this district, and that plaintiff’s cause

 5         of action arose in this district.

 6
                                                     INTRODUCTION
 7
 8
      3. Coliseum Sports (the “Business”) is located at 232 Nut Tree Road, Vacaville, California. Said
 9
           business is owned and operated by defendant The Coliseum Inc. The Business is a “public
10
           accommodation and business establishment” subject to California Health and Safety Code
11         §19953 et seq. and California Civil Code §54 et seq. On information and belief, this Business
12         has, since July 1, 1970, undergone construction and/or “alterations, structural repairs, or
13         additions,” subjecting such facility to disabled access requirements per Health and Safety
14         Code §19953 to 19959 et seq. Construction and alterations since July 1, 1982 also subjected

15         these facilities to the requirements of California’s Title 24, the State Building Code. Further,
           irrespective of alternation history, such premises are subject to the “readily achievable” barrier
16
           removal requirements of Title III of the Americans with Disabilities Act of 1990.
17
      4. Defendant The Coliseum Inc. operate the Business, an establishment for services to the public
18
           at which business and location said defendants failed to provide barrier-free access to said
19
           establishment as required under federal and California state law. Further, defendants failed to
20
           provide compliance with the law as follows:
21              a. Interior: The service counter for sales was less than 36 inches wide and more than 34
22                   inches high, in violation of ADAAG 7.2(1) (1991 standards) and 904.4 (2010
23                   standards, and CBC 11B-904.3.2 and 11B-904.4.1. As a result, plaintiff had to strain to
24                   conduct his transactions, and was unable to interact with the sales personnel like a non-

25                   disabled customer. The service counter was very high.

26    5. The above barriers interfered with Plaintiff’s access to the facilities at the Business, and
           continue to deter plaintiff from visiting said facilities, and as a legal result, plaintiff has
27
           suffered and suffers violations of his civil rights to full and equal enjoyment of goods,
28
           services, facilities and privileges, and has suffered and will suffer embarrassment and
     ___________________________________________________________________________________________________________


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 1         humiliation. Pursuant to Lopez v. Catalina Channel Express, Inc., 974 F.3d 1030 (9th Cir.
 2         2020), plaintiff, in order to plausibly show that the cost of removing an architectural barrier

 3         does not exceed the benefits under the particular circumstances, and by way of a plausible
           proposal for barrier removal, the costs of which, facially, do not clearly exceed its benefits,
 4
           pleads the following: The service counter can be remedied by lowering a section, costing
 5
           $500. These cost estimates are based on estimates given in similar ADA cases in which
 6
           plaintiff has been involved, by plaintiff’s expert, who is CASp-certified, and a licensed civil
 7
           engineer in California. In normal circumstances, tax deductions and tax credits are available to
 8
           defendants to do this kind of work, meaning that there would be no net cost to defendants at
 9         the end of the tax year. Each case is different, and these numbers are only estimates for
10         purposes of this initial pleading.
11
12                                                 FACTUAL ALLEGATIONS

13
      6. Plaintiff is, and at all times relevant to this complaint is, a “physically handicapped person,” a
14
           “physically disabled person,” and a “person with a disability” as those terms are used under
15
           applicable California law and under applicable federal law, including, but not limited to, Title
16
           III of the Americans with Disabilities Act of 1990. (The terms “physically handicapped
17
           person,” a “physically disabled person,” and a “person with a disability” will be used
18
           interchangeably throughout this complaint.) Plaintiff has no legs due to a catastrophic accident
19         that lead to the amputation of his legs, and he uses a wheelchair.
20    7. Defendant The Coliseum Inc. at all times relevant herein, were and are the owners, operators,
21         lessors, and/or lessees, franchisors and/or franchisees, of public facilities at the Business,
22         known as Coliseum Sports, located at 232 Nut Tree Road, Vacaville, California, subject to

23         California state law requiring full and equal access to public facilities pursuant to California

24         Health and Safety Code §19953 et seq., California Civil Code §§ 51, 51.5, 52(a), 52.1, 54,
           54.1, and 54.3, and subject to Title III of the Americans with Disabilities Act of 1990, and to
25
           all the other legal requirements referred to in this complaint. Plaintiff does not know the
26
           relative responsibilities of the defendants in the operation of the Business facilities complained
27
           of herein, and alleges a joint venture and common enterprise by all such defendants.
28
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 1    8. Defendant The Coliseum Inc., at all times relevant herein were and are the owners, operators,
 2         possessors, builders and keepers of the Business called Coliseum Sports in the city of

 3         Vacaville, California. Plaintiff is informed and believes that each of the defendants herein is
           the agent, employee, or representative of each of the other defendants, and performed acts and
 4
           omissions as stated herein within the scope of such agency or employment or representative
 5
           capacity and is responsible in some manner for the acts and omissions of the other defendants
 6
           in legally causing the damages complained of herein, and have approved or ratified each of the
 7
           acts or omissions of each other defendant, as herein described.
 8
      9. Plaintiff does not know the true names and capacities of defendants Does 1 to 50, their
 9         business capacities, their ownership connection to the property and the business, nor their
10         relative responsibilities or relationships among one another in causing the access violations
11         herein complained of, and alleges a joint venture and common enterprise among all
12         defendants. Plaintiff is informed and believes that each of the defendants herein is the agent,

13         ostensible agent, master, servant, employer, employee, representative, franchiser, franchisee,
           joint venturer, partner, and associate, or such similar capacity, of each of the other defendants,
14
           and was at all times acting and performing, or failing to act or perform, with the authorization,
15
           consent, permission or ratification of each of the other defendants, and is responsible in some
16
           manner for the acts and omissions of the other defendants in legally causing the violations and
17
           damages complained of herein, and have approved or ratified each of the acts or omissions of
18
           each other defendant, as herein described. Plaintiff will seek leave to amend this Complaint
19         when the true names, capacities, connections and responsibilities of defendants are
20         ascertained.
21    10. Plaintiff is informed and believes that all named defendants, conspired to commit the acts
22         described herein, or alternatively aided and abetted one another in the performance of the

23         wrongful acts hereinafter complained of.

24    11. Defendants are the owners of the property and operators of the Business called Coliseum
           Sports located in the city of Vacaville, California. This business, including, but not limited to,
25
           access aisles and access routes, is or forms a part of a “public accommodation or facility”
26
           subject to the requirements of California Health & Safety Code §19953, et seq., and of
27
           California Civil Code §§51, 52(a), 54, 54.1, et seq. On information and belief, this business, or
28
           portions of it, was constructed or altered after 1990, and after January 26, 1993, which fact has
     ___________________________________________________________________________________________________________


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 1         subjected the business to handicapped access requirements per California Code of Regulations
 2         Title 24 (the State Building Code).

 3    12. On or about October 11, 2024 and November 12, 2024 (the “Visit Dates”), Plaintiff visited the
           Business for the purpose of buying sports-related clothing and memorabilia. Defendants
 4
           interfered with Plaintiff’s access to the Business as set forth herein.
 5
      13. Said acts and omissions denied Plaintiff legal handicapped access to the Business and its
 6
           facilities as required under state and federal law.
 7
      14. Plaintiff’s home in Fairfield, California is approximately ten miles from the Business located
 8
           in the city of Vacaville. Plaintiff travels regularly to and through said city in this area on
 9         business and pleasure trips. Plaintiff plans to return to the Business when this public
10         accommodation is made accessible.
11    15. Plaintiff himself encountered the architectural barriers described herein, and/or is informed
12         and believes that the architectural barriers described herein violate the California Code of

13         Regulations and the Americans with Disabilities Act Guidelines for Buildings and Facilities
           (“ADAAG”) issued by the Department of Justice, and that they existed and continue to exist,
14
           and thereby deny Plaintiff and others similarly situated full and equal access to the Business
15
           facilities as set forth herein.
16
      16. Defendants, and each of them, by these barriers, discriminated against Plaintiff, on the basis of
17
           his physical disability, and interfered with his access to the Business and its facilities, in
18
           violation of California law, including but not limited to §§51, 51.5, 54, 54.1, and in violation
19         of Title III, §302, the “Prohibition against Discrimination” provision, and §503, the
20         “Prohibition against Retaliation and Coercion” provision of the Americans with Disabilities
21         Act of 1990.
22    17. As a result of the actions and failure to act of defendants, and each of them, and as a result of

23         the failure to provide proper and accessible entryways, and accessible accommodations for a

24         store, Plaintiff suffered and will suffer the loss of his civil rights to full and equal access to
           public facilities, and further has suffered in the past and will suffer in the future emotional
25
           distress, mental distress, mental suffering, mental anguish, which includes shame, humiliation,
26
           embarrassment, anger, chagrin, disappointment and worry, expectedly and naturally associated
27
           with a person with a disability being denied access to a public accommodation, all to his
28
           damages as prayed hereinafter in an amount within the jurisdiction of this court.
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 1
 2         I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH

 3                   DISABILITIES ACT OF 1990 (42 USC 12101 et seq.)

 4
      18. Plaintiff repleads and incorporates by reference, as if fully set forth again herein, the
 5
           allegations contained in paragraphs 1 to 17 above and incorporates them herein as if separately
 6
           pled.
 7
      19. Pursuant to law, in 1990 the United States congress made findings per 42 USC 12101
 8
           regarding persons with physical disabilities, finding that laws were needed to more fully
 9         protect [at that time] 43 million Americans with one or more physical or mental disabilities;
10         [that] historically society has tended to isolate and segregate individuals with disabilities;
11         [that] such forms of discrimination against individuals with disabilities continue to be a serious
12         and pervasive social problem; [that] the nation's proper goals regarding individuals with

13         disabilities are to assure equality of opportunity, full participation, independent living and
           economic self-sufficiency such individuals; [and that] the continuing existence of unfair and
14
           unnecessary discrimination and prejudice denies people with disabilities the opportunity to
15
           compete on an equal basis and to pursue those opportunities for which our free society is
16
           justifiably famous.
17
      20. Congress stated as its purpose in passing the Americans With Disabilities Act of 1990 (42
18
           USC 12102):
19              a. It is the purpose of this act (1) to provide a clear and comprehensive national mandate
20                   for the elimination of discrimination against individuals with disabilities; (2) to provide
21                   clear, strong, consistent, enforceable standards; (3) to ensure that the Federal
22                   Government plays a central role in enforcing the standards established in this Act on

23                   behalf of individuals with disabilities; (4) to invoke the sweep of Congressional

24                   authority, including the power to enforce the 14th amendment and to regulate
                     commerce, in order to address the major areas of discrimination faced day to day by
25
                     people with disabilities.
26
      21. As part of the Americans with Disabilities Act of 1990, Congress approved Title III – Public
27
           Accommodations and Services Operated by Private Entities (42 USC 12181, et seq.) Among
28
     ___________________________________________________________________________________________________________


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 1         the public accommodations identified under this title were “… a bakery, grocery store,
 2         clothing store, hardware store, shopping center, or other sales or rental establishment.”

 3    22. Pursuant to 42 USC 12182,
                a. “No individual shall be discriminated against on the basis of disability in the full and
 4
                     equal enjoyment of the goods, services, facilities, privileges, advantages or
 5
                     accommodations by any person who owns, leases, (or leases to), or operates a place of
 6
                     public accommodation.”
 7
      23. Among the general prohibitions against discrimination were included in 42 USC
 8
           12182(b)(1)(A)(i):
 9              a. Denial of Participation. It shall be discriminatory to subject an individual on the basis
10                   of a disability or disabilities of such individual or class, directly, or through
11                   contractual, licensing, or other arrangements, to a denial of the opportunity of the
12                   individual or class to participate in or benefit from the goods, services, facilities,

13                   privileges, advantages, or accommodations of an entity.
      24. Among the general prohibitions against discrimination were included in 42 USC
14
           12182(b)(1)(E):
15
                a. Association. It shall be discriminatory to exclude or otherwise deny equal goods,
16
                     services, facilities, privileges, advantages, accommodations, or other opportunities to
17
                     an individual or entity because of the known disability of an individual with whom the
18
                     individual or entity is known to have a relationship or association.
19    25. The acts of Defendants set forth herein were a violation of Plaintiff’s rights under the ADA,
20         and the regulations promulgated thereunder, 28 Code of Federal Regulations Part 36 et seq.
21    26. Among the general prohibits against discrimination were included in 42 USC
22         12182(b)(2)(A)(i) and (ii):

23              a. Discrimination. For purposes of subsection (a), discrimination includes:

24                        i. the imposition or application of eligibility criteria that screen out or tend to

25                             screen out an individual with a disability or any class of individuals with

26                             disabilities from fully and equally enjoying any goods, services, facilities,

27                             privileges, advantages, or accommodations, unless such criteria can be shown

28                             to be necessary for the provision of the goods, services, facilities, privileges,
                          advantages, or accommodations being offered;
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 1                        ii. a failure to make reasonable modifications in policies, practices, or procedures,
 2                             when such modifications are necessary to afford such goods, services, facilities,
 3                             privileges, advantages, or accommodations to individuals with disabilities,
 4                             unless the entity can demonstrate that making such modifications would
 5                             fundamentally alter the nature of such goods, services, facilities, privileges,
 6                             advantages, or accommodations.
 7    27. Plaintiff alleges that the facilities, policies, practices and procedure for entry to the Business
 8         facility by persons with disabilities and their companions as established and set up by the
 9         Defendants can be simply modified to eliminate disparate and discriminatory treatment of
10         persons with disabilities by properly constructing barrier-free handicapped access so as to
11         provide safe, full and equal enjoyment of the Business facilities as is enjoyed by other, non-
12         disabled, people.
13    28. The specific prohibition against retaliation and coercion is included in the Americans with
14         Disabilities Act of 1990 §503(b) and the Remedies and Procedures in §503(c):

15              a. Section 503(b) Interference, Coercion, or Intimidation. - It shall be unlawful to coerce,

16                   intimidate, threaten, or interfere with any individual in the exercise or enjoyment of, or

17                   on account of his or her having exercised or enjoyed, or on account of his or her having

18                   aided or encouraged any other individual in the exercise or enjoyment of, any right

19                   granted or protected by this Act.

20              b. Section 503(c) Remedies and Procedure. - The remedies and procedures available

21                   under sections 107, 203, and 308 of this Act shall be available to aggrieved persons for

22                   violations of subsections (a) and (b), with respect to Title I, Title II and Title Ill,

23                   respectively.

24    29. Among the specific prohibitions against discrimination were included, in 42 USC

25         §12182(b)(2)(a)(iv), "A failure to remove architectural barriers, and communications barriers

26         that are structural in nature, in existing facilities ... where such removal is 3dily achievable and

27         (v) "where and entity can demonstrate that the removal of a barrier under clause (iv) is not

28         readily achievable, a failure to make such goods, services, facilities, privileges, advantages, or
          accommodations available through such methods are readily achievable." The acts of
     ___________________________________________________________________________________________________________


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 1         Defendants set forth herein violated Plaintiffs rights under the "ADA," 42 USC 12181 et seq.,
 2         and the regulations promulgated thereunder, 28 CFA Part 36, et seq.
 3    30. The removal of the barriers complained of by Plaintiff as hereinabove alleged were at all times
 4         after 1990 "readily achievable.” On information and belief, if the removal of all the barriers
 5         complained of here together were not removable, the removal of each individual barrier
 6         complained of herein was "readily achievable."
 7    31. Per 42 USC §12181(9), “The term ‘readily-achievable’ means easily accomplishable and able
 8         to be carried out. The statute and attendant regulations define relative ‘expense’ in relation to
 9         the total financial resources of the entities involved, including any ‘parent’ companies.
10         Plaintiff alleges that properly repairing each of the items that Plaintiff complains of herein is
11         readily achievable, including, but not limited to, correcting and repairing the items set forth in
12         the Paragraphs above. The changes needed to remove barriers to access for the disabled were
13         and are readily achievable by the defendants under standards set forth under 42 USC §I2181 of
14         the Americans with Disabilities Act of 1990. (Further, if it were not "readily achievable" for
15         defendants to remove all such barriers, defendants have failed to make the required services
16         available through alternative methods, although such methods are achievable as required by 42
17         USC §12181(b)(2)(a)(iv)(, v).)
18    32. Pursuant to the Americans with Disabilities Act of 1990, §308 (42 USC §12188 et seq.),
19         Plaintiff is entitled to the remedies and procedures set forth in the Civil Rights Act of 1964
20         §204(a), (42 USC §2000a-3(a)), as Plaintiff is being subjected to discrimination on the basis of
21         disability in violation of this title andlor Plaintiff has reasonable grounds for believing that he
22         is about to be subjected to discrimination in violation of the Americans with Disabilities Act of
23         1990, §302. Plaintiff cannot return to or make use of the subject Business’ public facilities
24         complained of herein for the purpose of entry and provision of goods and service so long as
25         Defendants continue to apply eligibility criteria, policies, practices that screen out and refuse
26         to allow entry and service to persons with disabilities such as Plaintiff's.
27    33. Each of Defendants’ acts and omissions of failing to provide barrier-free handicapped access
28         for Plaintiff, were tantamount to interference, intimidation, and coercion pursuant to the
     ___________________________________________________________________________________________________________


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 1         Americans with Disabilities Act of 1990 §503(b) (now 42 USC §12203): “It shall be unlawful
 2         to coerce, intimidate, threaten, or interfere with any individual in the exercise or enjoyment of,
 3         or on account of his or her having aided or encouraged any other individual in the exercise or
 4         enjoyment of, any right granted or protected by this Act.”
 5    34. Pursuant to the Americans with Disabilities Act of 1990 §308(a)(1) (now 42 USC §12188),
 6         “Nothing in this section shall require a person with a disability to engage in a futile gesture if
 7         such person has actual notice that a person or organization covered by this title does not intend
 8         to comply with its provisions." Pursuant to this last section, Plaintiff, on information and
 9         belief, alleges that defendants have continued to violate the law and deny the rights of Plaintiff
10         and other disabled persons to access this public accommodation for the purpose of dining.
11         Therefore, Plaintiff seeks injunctive relief pursuant to §308(a)(2) “...Where appropriate,
12         injunctive relief shall also include requiring the provision of an auxiliary aid or service,
13         modifications of a policy, or provision of alternative methods, to the extent required by this
14         title.”
15    35. Plaintiff seeks relief pursuant to remedies set forth in §204(a) of the Civil Rights Act of 1964
16         (42 USC §2000a-3(a)), and pursuant to federal regulations adopted to implement the
17         Americans with Disabilities Act of 1990, including, but not limited to, an order granting
18         injunctive relief and attorneys’ fees. Such attorneys' fees, “including litigation expenses and
19         costs,” are further specifically provided for by §505 of Title Ill.
20         WHEREFORE, Plaintiff prays for damages as hereinafter stated.
21
22         II.SECOND CAUSE OF ACTION: BREACH OF STATUTORY PROTECTIONS FOR
23                   PERSONS WITH PHYSICAL DISABILITIES (California Health and Safety Code
24                   §19955 et seq.)
25
26    36. Plaintiff repleads and incorporates by reference, as if fully set forth again herein, the
27         allegations contained in paragraphs 1 to 35 above and incorporates them herein as if separately
28         pled.
     ___________________________________________________________________________________________________________


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 1    37. California Health & Safety Code §19955 provides in pertinent part: “The purpose of this part
 2         is to insure that public accommodations or facilities constructed in this state with private funds
 3         adhere to the provisions of Chapter 7 (commencing with Sec. 4450) of Division 5 of Tile 1 of
 4         the Government Code. For the purposes of this part "public accommodation or facilities"
 5         means a building, structure, facility, complex, or improved area which is used by the general
 6         public, and shall include auditoriums, hospitals, theaters, hotels, motels, stadiums, and
 7         convention centers. When sanitary facilities are made available for the public, clients or
 8         employees in such accommodations or facilities, they shall be made available for the
 9         handicapped.
10    38. California Health & Safety Code §19956, which appears in the same chapter as §19955,
11         provides in pertinent part, "accommodations constructed in this state shall conform to the
12         provisions of Chapter 7 (commencing with Section 4450) of Division 5 of Title 1 of the
13         Government Code.. .” California Health and Safety Code §19956 was operative July 1, 1970,
14         and is applicable to all public accommodations constructed or altered after that date. On
15         information and belief, portions of the subject Business building and facilities were
16         constructed and/or altered after July 1, 1970, and substantial portions of said building and
17         facilities had alterations, structural repairs, and/or additions made to such public
18         accommodation after July 1, 1970, thereby requiring said public accommodations and/or
19         buildings to be subject to the requirements of Part 5.5, California Health Safety Code §19955,
20         et seq., upon such alteration, structural repairs or additions per California Health and Safety
21         Code §19955.
22    39. Pursuant to authority delegated by the California Government Code, the State Architect
23         promulgated regulations for the enforcement of these Code provisions. Effective January 1,
24         1988, Title 24 of the California Administrative Code adopted the California State Architect’s
25         Regulations, and these regulations must be complied with as to any alterations and/or
26         modifications of the Business’ facilities after that date. Construction changes occurring prior
27         to this date but after July 1, 1970, triggered access requirements pursuant to the "ASA"
28         requirements, the American Standards Association Specifications, A117.1 -1961. On
     ___________________________________________________________________________________________________________


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 1         information and belief, at the time of the construction modification and of the Business’
 2         building and facilities, all buildings and facilities covered were required to conform to each of
 3         the standards and specifications described in the American Standards Association
 4         Specifications and/or those contained in Title 24 of the California Administrative Code (now
 5         known as Title 24, California Code of Regulations.)
 6    40. Public facilities such as the subject Business are public accommodations or facilities within
 7         the meaning of California Health and Safety Code §19955.
 8    41. It is difficult or impossible for persons with physical disabilities who use wheelchairs, canes,
 9         walkers and service animals to travel about in public to use a store with the defects set forth
10         above as required by Title 24 of the California Code of Regulations and the Americans with
11         Disabilities Act Access Guidelines (ADAAG). Thus, when public accommodations fail to
12         provide handicap accessible public facilities, persons with disabilities are unable to enter and
13         use said facilities, and are denied full and equal access to and use of that facility that is
14         enjoyed by other members of the general public.
15    42. Plaintiff, and other similarly situated persons with physical disabilities whose physical
16         conditions require the use of wheelchairs, canes, walkers and service animals, are unable to
17         use public facilities on a “full and equal” basis unless each such facility is in compliance with
18         the provisions of the California Health & Safety Code §19955, et seq. Plaintiff is a member of
19         that portion of the public whose rights are protected by the provisions of California Health &
20         Safety Code §19955, et seq.
21    43. The California Health and Safety Code was enacted to “ensure that public accommodations
22         and facilities constructed in this state with private funds adhere to the provisions of Chapter 7
23         (commencing with §4450) of Division 5 of Title 1 of the Government Code.” Such “public
24         accommodations” are defined to include stores like this one.
25    44. Plaintiff is further informed and believes that as of the date of filing this complaint,
26         Defendants have not made accessible the facilities at the Business as set forth above.
27    45. Plaintiff, is informed and believes, and therefore alleges, that Defendants, and each of them,
28         caused the subject buildings and facilities constituting the Business to be constructed, altered
     ___________________________________________________________________________________________________________


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 1         and maintained in such a manner that persons with physical disabilities were denied full and
 2         equal access to, within and throughout said buildings and were denied full and equal use of
 3         said public facilities, and despite knowledge and actual and constructive notice to such
 4         Defendants that the configuration of the store, and/or buildings was in violation of the civil
 5         rights of persons with physical disabilities, such as Plaintiff. Such construction, modification,
 6         ownership, operation, maintenance and practices of such public facilities are in violation of
 7         law as stated in Part 5.5, California Health & Safety Code §19955, et seq., and elsewhere in
 8         the laws of California.
 9    46. On information and belief, the subject building constituting the public facilities of the Business
10         have denied full and equal access to Plaintiff and other persons with physical disabilities in
11         other respects due to non-compliance with requirements of Title 24 of the California Code of
12         Regulations and the California Health & Safety Code §19955, el seq.
13    47. The basis of Plaintiff's aforementioned information and belief is the various means upon which
14         Defendants must have acquired such knowledge, including, but not limited to, this lawsuit,
15         other access lawsuits, communications with operators of other stores, and other owners
16         regarding denial of access, communications with Plaintiff and other persons with disabilities,
17         communications with other patrons who regularly visit there, communications with owners of
18         other businesses, notices and advisories they obtained from governmental agencies through the
19         mails, at seminars, posted bulletins, television, radio, public service announcements, or upon
20         modification, improvement, alteration or substantial repair of the subject premises and other
21         properties owned by these Defendants, newspaper articles and trade publications regarding the
22         Americans with Disabilities Act of 1990, and other access law, and other similar information.
23         The scope and means of the knowledge of each defendant is within each defendant’s exclusive
24         control and cannot be ascertained except through discovery.
25    48. As a result of Defendants' acts and omissions in this regard, Plaintiff has been required to incur
26         legal expenses and hire attorneys in order to enforce his civil rights and enforce provisions of
27         the law protecting access for persons with physical disabilities and prohibiting discrimination
28         against persons with physical disabilities, and to take such action both in his own interests and
     ___________________________________________________________________________________________________________


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 1         in order to enforce an important right affecting the public interest. Plaintiff, therefore, seeks
 2         damages in this lawsuit for recovery of all reasonable attorneys' fees incurred, pursuant to the
 3         provisions of the California Code of Civil Procedure §l021.5. Plaintiff additionally seeks
 4         attorneys' fees pursuant to California Health & Safety Code §I9953 and California Civil Code
 5         §§54.3.
 6    49. Defendants, and each of them, at times prior to and including the Visit Dates, and continuing
 7         to the present time, knew or should have known that persons with physical disabilities were
 8         denied their rights of equal access to all portions of this public facility. Despite such
 9         knowledge, or negligence with respect to such knowledge, Defendants failed and refused to
10         take steps to comply with the applicable handicapped access statutes; and despite knowledge
11         of the resulting problems and denial of civil rights thereby suffered by Plaintiff and other
12         similarly situated persons with disabilities, including the specific notices referred to in this
13         Complaint. Defendants have failed and continue to fail to take action to grant full and equal
14         access to persons with physical disabilities in the respects complained of hereinabove.
15         Defendants and each of them have carried out a course of conduct of refusing to respond to, or
16         correct complaints about, denial of handicap access, or have been negligent in their obligations
17         under the law.
18    50. Defendants' actions have also been oppressive to persons with physical disabilities and to other
19         members of the public, and have evidenced actual or implied malicious intent towards those
20         members of the public, such as Plaintiff and other persons with physical disabilities who have
21         been denied the proper access they are entitled to by law. Further, Defendants’ refusals on a
22         day-to-day basis to correct these problems evidences despicable conduct in conscious
23         disregard for the rights of Plaintiff and other members of the public with physical disabilities.
24    51. As a result of the actions and failure of Defendants, and each of them, and as a result of the
25         failure to provide proper accessible public facilities, Plaintiff was denied his civil rights,
26         including his right to full and equal access to public facilities, was embarrassed and
27         humiliated, suffered psychological and mental injuries and emotional distress, mental distress,
28         mental suffering, mental anguish, which includes shame, humiliation, embarrassment, anger,
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 1         chagrin, disappointment and worry, naturally associated with a person with a physical
 2         disability being denied access to a public accommodation.
 3         WHEREFORE, Plaintiff prays for damages as hereinafter stated.
 4
 5         III.      THIRD CAUSE OF ACTION: VIOLATION OF CALIFORNIA’S CIVIL RIGHTS
 6                   ACTS (California Civil Code §§54, 54.1 and 54.3)
 7
 8    52. Plaintiff repleads and incorporates by reference, as if fully set forth again herein, the
 9         allegations contained in paragraphs 1 to 51 above and incorporates them herein as if separately
10         pled.
11    53. The public facilities above-described constitute public facilities and public accommodations
12         within the meaning of California Health and Safety Code §19955 et seq. and are facilities to
13         which members of the public are invited. The aforementioned acts and omissions of
14         defendants, and each of them, constitute a denial of equal access to and use and enjoyment of
15         these facilities by persons with disabilities, including Plaintiff. Said acts and omissions are
16         also in violation of the provisions of Title 24 of the California Code of Regulations.
17    54. The rights of Plaintiff, the entitlement of Plaintiff to full and equal access, and the denial by
18         defendants of such rights and entitlements are set forth in California Civil Code §§54, 54.1 and
19         54.3, to wit:
20                a. Individuals with disabilities shall have the same right as the ...general public to full and
21                   free use of the streets, highways, sidewalks, walkways, public buildings, public
22                   facilities, and other public places. (California Civil Code §54(a).)
23                b. Individuals with disabilities shall be entitled to full and equal access, as other members
24                   of the general public, to accommodations, advantages, facilities, and privileges of all
25                   common carriers, airplanes, motor vehicles, railroad trains, motor buses, streetcars,
26                   boats, or any other public conveyances or modes of transportation (whether private,
27                   public, franchised, licensed, contracted, or otherwise provided), telephone facilities,
28                   adoption agencies, private schools, hotels, lodging places, places of public
     ___________________________________________________________________________________________________________


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 1                   accommodation, amusement or resort, and other places to which the general public is
 2                   invited, subject only to the conditions and limitations established by law, or state or
 3                   federal regulation, and applicable alike to all persons. (California Civil Code §54.1(a).)
 4    55. On or about the Visit Dates, Plaintiff suffered violations of California Civil Code §§54 and
 5         54.1 in that he was denied full and equal enjoyment of the goods, services, facilities and
 6         privileges of the Business as set forth in herein above. Plaintiff was also denied full and equal
 7         access to other particulars, including, but not limited to, those described herein above. Plaintiff
 8         was also denied use of facilities that he was entitled to under Title Ill of the Americans with
 9         Disabilities Act of 1990.
10    56. As a result of the denial of full and equal enjoyment of the goods, services, facilities and
11         privileges of Defendants’ Business due to the acts and omissions of Defendants, and each of
12         them, in owning, operating and maintaining this subject Business as a public facility, Plaintiff
13         has suffered a violation of his civil rights, including, but not limited to, rights under California
14         Civil Code §§54, 54.1, and 54.3, and has suffered and will suffer an injury-in-fact in the form
15         of emotional distress, mental distress, mental suffering, mental anguish, which includes shame,
16         humiliation, embarrassment, anger, chagrin, disappointment and worry, expectedly and
17         naturally associated with a disabled person's denial of full and equal enjoyment of goods,
18         services, and privileges, all to his damages as prayed hereinafter in an amount within the
19         jurisdiction of this court. Defendants' actions and omissions to act constituted discrimination
20         against Plaintiff on the sole basis that Plaintiff is disabled.
21    57. Plaintiff seeks statutory damages for the violation of his rights as a disabled person that
22         occurred on or about the Visit Dates, according to proof, pursuant to California Civil Code
23         §54.3.
24    58. As a result of Defendants' acts and omissions in this regard, Plaintiff has been required to incur
25         legal expenses and hire attorneys in order to enforce his rights and enforce provisions of the
26         law protecting the full and equal enjoyment of goods, services, facilities, privileges of public
27         facilities by the disabled, and those individuals associated with or accompanied by a person
28         with disabilities, and prohibiting discrimination against the disabled. Plaintiff, therefore, seeks
     ___________________________________________________________________________________________________________


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 1         recovery in this lawsuit for all reasonable attorneys' fees incurred pursuant to the provisions of
 2         California Civil Code §51, 52, and 54. (California Civil Code §55 is specifically not invoked.)
 3         Additionally, Plaintiff's lawsuit is intended not only to obtain compensation for damages to
 4         Plaintiff, but also to compel the Defendants to make their goods, services, facilities and
 5         privileges available and accessible to all members of the public with physical disabilities,
 6         justifying public interest attorneys' fees pursuant to the provisions of California Code of Civil
 7         Procedure §1021.5.
 8    59. The acts and omissions of Defendants in failing to provide the required accessible facilities
 9         subsequent to the enactment date and compliance date of the Americans with Disabilities Act
10         of 1990 and refusal to make remedial alterations to their facilities and other elements as
11         hereinabove stated, after being notified by patrons before and after the time of Plaintiff’s visit
12         and injuries, on or about the Visit Dates, and all times prior thereto, with the knowledge that
13         persons with disabilities would enter Defendants’ premises, the reason given therefor, was an
14         established policy, practice, and procedure of refusing and denying entry and/or use of
15         facilities, thereby denying services to a person with disabilities and the companions thereor,
16         evidence malice and oppression toward Plaintiff and other disabled persons.
17    60. Plaintiff seeks injunctive relief pursuant to California Civil Code §54 and Health and Safety
18         Code §19953 et seq. to require Defendants to comply with federal and state access regulations.
19    61. Defendants have failed to establish a non-discriminatory criteria, policy, practice and
20         procedure for entry into said Business as hereinabove described.
21    62. As a result of defendants’ continuing failure to provide for the full and equal enjoyment of
22         goods, services, facilities and privileges of said Business as hereinabove described, Plaintiff
23         has continually been denied his full and equal enjoyment of the subject store facilities at the
24         Business, as it would be a “futile gesture to attempt to patronize” said Business with the
25         discriminatory policy in place as hereinabove described.
26    63. The acts and omissions of Defendants as complained of herein in failing to provide the
27         required accessible facilities subsequent to the enactment date and compliance date of the
28         Americans with Disabilities Act of 1990 and refusal to make remedial modifications and
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 1         alterations to the architectural barriers as stated herein and in failing to establish practices,
 2         policies and procedures to allow safe access by persons who are disabled are continuing on a
 3         day-to-day basis to have the effect of wrongfully and willfully excluding Plaintiff and other
 4         members of the public who are disabled from full and equal enjoyment of the subject Business
 5         as hereinabove described. Such acts and omissions are the continuing cause of humiliation and
 6         mental and emotional suffering of Plaintiff in that these actions continue to treat Plaintiff as an
 7         inferior and second class citizen and serve to discriminate against him on the sole basis that he
 8         is disabled. Plaintiff is unable so long as such acts and omissions of defendants continue, to
 9         achieve full and equal enjoyment of the goods and services of said Business as described
10         hereinabove. The acts of Defendants have legally caused and will continue to cause irreparable
11         injury to Plaintiff if not enjoined by this court.
12    64. Wherefore, Plaintiff asks this court to preliminarily and permanently any continuing refusal by
13         Defendants to permit entry to said Business and to serve Plaintiff or others similarly situated,
14         and to require Defendants to comply forthwith with the applicable statutory requirements
15         relating to the full and equal enjoyment of goods and services as described hereinabove for
16         disabled persons. Plaintiff further requests that the court award statutory costs and attorneys'
17         fees to Plaintiff pursuant to California Code of Civil Procedure §I021.5, all as hereinafter
18         prayed for.
19
20   WHEREFORE, Plaintiff prays for statutory damages, reasonable attorneys' fees and costs of suit, as
21   allowed by statute and according to proof.
22
23         IV.       FOURTH CAUSE OF ACTION: VIOLATION OF CALIFORNIA UNRUH CIVIL
24                   RIGHTS ACT (California Civil Code §51 and §51.5.)
25
26    65. Plaintiff repleads and incorporates by reference, as if fully set forth again herein, the
27         allegations contained in paragraphs 1 to 64 above and incorporates them herein as if separately
28         pled.
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 1    66. Defendant’ acts and omissions as specified with regard to the discriminatory treatment of
 2         Plaintiff, on the basis of his disabilities, have been in violation of California Civil Code §§51
 3         and 51.5, the Unruh Civil Rights Act, and have denied to Plaintiff his rights to “full and equal
 4         accommodations, advantages, facilities, privileges or services in all business establishments of
 5         every kind whatsoever.”
 6    67. California Civil Code §51 also provides that “[a] violation of the right of any individual under
 7         the Americans with Disabilities Act of 1990 (Public Law 101-336) shall also constitute a
 8         violation of this section.”
 9    68. California Civil Code §51.5 also provides that “[no business establishment of any kind
10         whatsoever shall discriminate against, boycott, or blacklist, refuse to buy from, sell to, or trade
11         with any person in this state because of the race, creed, religion, color, national origin, sex,
12         disability of the person or of the person's partners, members, stockholders, directors, officers,
13         managers, superintendents, agents, employees, business associates, suppliers, or customers.”
14    69. As a result of the violation of Plaintiffs civil rights protected by California Civil Code §§51
15         and 51.5, Plaintiff is entitled to the rights and remedies of California Civil Code §52,
16         consisting of statutory damages, as well as reasonable attorneys' fees and costs, as allowed by
17         statute, according to proof. California Civil Code §55 is specifically not invoked by plaintiff.
18    70. Pursuant to California Code of Civil Procedure §425.50: (a) this complaint is filed on behalf of
19         a high-frequency litigant, as defined; (b) 34; (c) shopping in the Vacaville area; (d) to buy
20         sports-related items from this business.
21    71. WHEREFORE, Plaintiff prays that this court award statutory damages and provide relief as
22         follows:
23
24                                                 PRAYER FOR RELIEF
25   Plaintiff prays that this court award statutory damages and provide relief as follows:
26
27       1. Grant injunctive relief requiring that Defendants establish a nondiscriminatory
28   criteria, policy, practice and procedure permitting entry into the subject Business in
     ___________________________________________________________________________________________________________


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 1   the City of Vacaville, California, for the purpose of obtaining the goods and services accorded
 2   therein according to California Civil Code §§51, 51.5, 52, 54, 54.1, and 54.3, California Health and
 3   Safety Code §19953 et seq., and Title Ill of the Americans with Disabilities Act of 1990, and grant
 4   injunctive relief requiring that Defendants repair and render safe to disabled persons, and otherwise
 5   make accessible, all public areas of the Business’ store, including, but not limited to, each of the
 6   barriers to access identified above, and make such facilities “readily accessible to and usable” by
 7   individuals with disabilities according to the standards of Title 24 of the California Administrative
 8   Code, California Health & Safety Code §19955 et seq., and Title Ill of the Americans with
 9   Disabilities Act of 1990 and the standards of ADAAG; and prohibiting operation of the Business
10   located in the City of Vacaville, California, as a public facility until Defendants provide full and
11   equal enjoyment of goods and services as described hereinabove to disabled persons, including
12   Plaintiff.
13       2. Statutory damages, according to proof, pursuant to California Civil Code §52, and statutory
14            damages, according to proof, pursuant to California Civil Code §54.3. Plaintiff
15            acknowledges that statutory damages cannot be claimed under both the Unruh Act and the
16            California Disabled Persons Act; he will make an election before or at trial in this respect.
17       3. Prejudgment interest on all damages to the extent permitted by law;
18       4. Remedies and Procedures available under Americans with Disabilities Act of 1990,
19            including but not limited to §§I 07,203 and 308.
20       5. Award Plaintiff all litigation expenses, all costs of this proceeding and a reasonable
21            attorneys’ fees as provided by law, including, but not limited to, those recoverable pursuant
22            to the provisions of California Civil Code §§52 and 54.3, California Code of Civil
23            Procedure §1021.5, and Americans with Disabilities Act of 1990 5308 of Title Ill; and
24       6. Grant such other and further relief as the court may deem just and proper.
25
26   /s/ Richard A. Mac Bride
27   Richard A. Mac Bride, Attorney for Plaintiff
28   Date: April 14, 2025
     ___________________________________________________________________________________________________________


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 1
 2                                                 REQUEST FOR JURY TRIAL
 3
 4   Plaintiff hereby requests a jury for all claims for which a jury is permitted.
 5   /s/ Richard A. Mac Bride
 6   Richard A. Mac Bride, Attorney for Plaintiff
 7   Date: April 14, 2025
 8
 9
10                                                     VERIFICATION
11   I, Oscar Ramos, plaintiff herein, hereby swear under penalty of perjury under the laws of the State
12   of California as follows: I am familiar with the contents of this first amended complaint and verify
13   that the facts alleged are true and correct according to my personal knowledge, except as to those
14   matters that are pled on information and belief, and as to those matters, I have reason to believe that
15   they are true.
16
17   /s/ Oscar Ramos
18   Oscar Ramos
19   Date: April 14, 2025
20
21
22
23
24
25
26
27
28
     ___________________________________________________________________________________________________________


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